Case 2:23-cv-01218-JES-KCD            Document 405     Filed 05/20/25   Page 1 of 2 PageID
                                           13515


                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      FORT MYERS DIVISION

DANESH NOSHIRVAN, an individual

                Plaintiff,

v.                                                   Case No.: 2:23-cv-1218-JES-KCD

JENNIFER COUTURE, RALPH
GARRAMONE M.D., RALPH
GARRAMONE M.D. P.A., CENTRAL
PARK OF SOUTHWEST FLORIDA,
LLC, WRAITH, LLC, SULLIVAN
STREET INVESTMENTS, LLC,
HAIRPIN TURN, LLC, OMG REALTY,
LLC, R G WEIGHT MANAGEMENT,
LLC, CENTRAL PARK SOUTH, LLC,
BRANTLEE, LLC, LEGACY OF MARIE
GARRAMONE, LLC, GARRAMONE
MARKETING, INC., 5681 DIVISION
LLC, THE LAW OFFICE OF PATRICK
TRAINOR ESQ. LLC, PATRICK
TRAINOR and ANTI-DOXING LEAGUE
INC.,

              Defendants.


 JUDGE:            John E. Steele                COUNSEL FOR    Nicholas A. Chiappetta
                                                 PLAINTIFF
 DEPUTY CLERK:     Juan Garcia Gonzalez          COUNSEL FOR    Aaron Alfano, Harvey W.
                                                 DEFENDANT:     Gurland, Jr., Julian Antony
                                                                Jackson-Fannin, Michael
                                                                Silverman, and Patrick
                                                                Trainor
 COURT             Brandi Wilkins                DATE/TIME      May 20, 2025 10:00 AM
 REPORTER

                                     Motion Hearing - Day 2

Start Time:   10:00 am

       Court convenes for day 2.

       Attorney Chiappetta continues direct examination of Patrick Trainor. Witness remains
       under oath.
       Direct (Cont.): 10:00 am - 10:21 am
       Witness excused.

10:21 am      Plaintiff Rests.
Case 2:23-cv-01218-JES-KCD        Document 405        Filed 05/20/25   Page 2 of 2 PageID
                                       13516


10:23 am     COURT IN RECESS
10:36 AM     COURT IN SESSION

      Mr. Chiappetta makes oral arguments. Mr. Gurland, Jr. presents oral arguments and
      responds. Mr. Alfano makes oral arguments on the record. Mr. Trainor makes
      arguments. Mr. Chiappetta rebuttals.

      Attorney Gurland, Jr. makes oral arguments to third motion.

      Attorney Gurland, Jr. calls Julian Antony Jackson-Fannin to the witness stand.
      Witness sworn.
      Direct: 11:11 am – 1:06 pm

1:07 pm      COURT IN RECESS

2:20 pm      COURT IN SESSION


      Cross Examination: 2:21 pm – 4:20 pm
      Redirect: 4:20 pm – 4:31 pm
      Recross: 4:31 pm - 4:36 pm
      Witness Excused.

      Mr. Gurland Jr. makes final remarks and arguments. Mr. Chiappetta makes final remarks
      and arguments. The Court will issue and order ruling on pending motions.

5:01 pm        COURT IN RECESS
Total Time: 5:48




                                            -2-
